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 3
     Attorney for Defendant
 4   TANISHA RENEE SIMPSON
 5
                            UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF CALIFORNIA
 7

 8

 9
     UNITED STATES OF AMERICA
                                                     )   Case No.: CR S-07-302 GEB
                    Plaintiff,                       )
10
                                                     )   STIPULATION AND [PROPOSED] ORDER
             vs.                                     )
11
                                                     )   CONTINING STATUS CONFERENCE AND
     JAMOL DEVON BARKER, et. al.,                    )   EXCLUDING TIME
12
                                                     )   .
                    Defendants.                      )
13
                                                     )
14

15
                    It is hereby stipulated and agreed to between the United States of America
16
     through Kenneth J. Melikian, Assistant United States Attorney; defendant, JAMOL DEVON
17

18   BARKER, by and through his counsel, Michael Bigelow; and defendant, TANISHA RENEE
19
     SIMPSON, by and through her counsel, Lindsay Anne Weston, that the status conference in this
20
     matter currently scheduled for Friday, April 25, 2008, at 9:00 a.m. be continued to May 30,
21

22   2008.

23           The basis for this request is that defense counsel are continuing to review discovery with
24
     their clients and are in plea negotiations with the government.
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             IT IS FURTHER STIPULATED that the period from April 25, 2008, (the date currently
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27   set for the status conference) through and including May 30, 2008, be excluded in computing the
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     time within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C.
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 2   §3161(h)(8)(B)(iv) and Local Code T4 for continuity and preparation of counsel.
 3
     Dated: April 24, 2008                      Respectfully submitted,
 4
                                                /s/Lindsay Weston
 5
                                                _________________________________
 6                                              LINDSAY ANNE WESTON
                                                Attorney for Defendant
 7                                              TANISHA RENEE SIMPSON
 8
                                                /s/ Lindsay Weston for
 9                                              ____________________________________
10
                                                MICHAEL BIGELOW
                                                Attorney for Defendant
11                                              JAMOL DEVON BARKER
12
     Date: April 24, 2008                       MCGREGOR W. SCOTT
13                                              United States Attorney
14
                                                /s/ Lindsay Weston for
15                                              _______________________________
                                                KENNETH J. MELIKIAN
16                                              Assistant United States Attorney
17                                              Per telephonic authority

18

19
                                         ORDER
20   IT IS SO ORDERED.
21
     Dated: April 29, 2008
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25                                            GARLAND E. BURRELL, JR.
26
                                              United States District Judge

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